              Case 22-2993, Document 78, 10/27/2023, 3585382, Page1 of 2




                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                          CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                   CLERK OF COURT

Date: October 27, 2023                                        DC Docket #: 19-cv-6239
Docket #: 22-2993cv                                           DC Court: SDNY (NEW YORK
Short Title: Lexington Furniture Industries, Inc. v. The      CITY)
Lexington Company, AB                                         DC Judge: Castel
                                                              DC Judge: Wang

                               NOTICE OF HEARING DATE

Argument Date/Time:       Thursday, November 30, 2023 at 10:00am
Location:                 Thurgood Marshall U.S. Courthouse, 40 Foley Square,
                          New York, NY, 10007, 17th Floor, Room 1703

Time Allotment:          10 minutes per side

Counsel and non-incarcerated pro se litigants presenting oral argument must register with the
courtroom deputy 30 minutes before argument.

The Court prefers to hold argument in person. However, argument may be held by Zoom,
teleconference, or a combination of in-person and remote arguments, depending upon then
current pandemic-related considerations. A party who has demonstrated good cause by motion
and judges may participate remotely. If an argument is remote, the parties will receive
instructions to access Zoom or the teleconference.

Individuals who arrive at the courthouse for argument must meet the health screening
requirements and entrance protocols specified at the entrance to the building and should check
the Court’s website under Announcements for up to date information.

A motion or stipulation to withdraw with or without prejudice must be filed no later than 3
business days prior to the scheduled date of argument. The Court will consider the motion or
stipulation at the time of argument, and counsel's appearance is required with counsel prepared to
argue the merits of the case. If a stipulation to withdraw with prejudice is based on a final
settlement of the case, the fully-executed settlement must be reported immediately to the
Calendar Team, and a copy of it must be attached to the stipulation.

Inquiries regarding this case may be directed to 212-857-8595.

See page 2 for additional information.
              Case 22-2993, Document 78, 10/27/2023, 3585382, Page2 of 2




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Counsel must file the completed form in accordance with Local Rule 25.1 or 25.2. Pro Se
parties must submit the form in paper.

Name of the Attorney/Pro Se presenting argument:
Firm Name (if applicable):
Current Telephone Number:

The above named attorney represents:
( ) Appellant/Petitioner ( ) Appellee-Respondent ( )         Intervenor

Date: _____________________ Signature: ________________________________


                                      NOTICE TO THE BAR



Recording of Argument. An audio recording of oral argument is available on the Court's
website. In addition, a CD of an argument may be purchased for $32 per CD by written request
to the Clerk. The request should include the case name, the docket number and the date or oral
argument. CDs will be delivered by first class mail unless the request instructs to hold for pick-
up or requests Federal Express Service, in which case a Federal Express account number and
envelope must be provided.

Court Reporters. Parties may arrange - at their own expense - for an official court reporter to
transcribe argument from a copy of the hearing tape or to attend and transcribe the hearing
directly. A party must first obtain written consent from opposing counsel - or move the Court for
permission - to have the court reporter attend and transcribe the hearing and must provide the
calendar clerk written notice, including the name, address and telephone number of the attending
reporter and, if applicable, the reporting firm at least one week prior to the hearing date.

Interpreter Services for the Hearing Impaired. Counsel requiring sign interpreters or other
hearing aids must submit a written notice to the Calendar Team at least one week before oral
argument.

                                                                                           Rev. 10/2023
